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                                                 Tne CrrY oF NEW YoRK
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                                                                           April 10,2018
         BY ECF
         Honorable Vernon S. Broderick
         United States District Judge
         United States District Court
         Southern District of New York
         40 Foley Square
         New York, New York 10007

                          Re:    Scott Hill v. City of Nerv   lfqrk-etsL
                                 t7 cv 1420 (vsB)
         Your Honor:

                         I am an Assistant Corporation Counsel in the Special Federal Litigation Division
         of the Office of the Corporation Counsel. This Office writes concerning the description provided
         by Plaintiff pursuant to the Court's Order dated February 26,2018.

                          (a) Backeround and Procedural Posture

                          The Court issued an order on December 27,2017, pursuant to Valentin                  v.
         Dinkins, 121 F.3d 72 (2d Cir. 1997), directing, inter alia, that this Office ascertain the identities,
         badge numbers, and service addresses for the "John Doe" Police Officers Plaintiff alleges
         arrested and subjected him to excessive force. (See ECF Docket Entry No. 10, at34.) By letter
         motion dated February 22, 2018, this Office requested an extension of time to respond to the
         Court's Valentin Order to April 27, 2018 and because of the difficulties in identifying these
         individuals, this Office also requested that the Court instruct Plaintiff to provide physical
         descriptions of the individuals he seeks to name as defendants. (ECF Docket Entry No. 12.) On
         February 26,2018, the Court granted that request and ordered that Plaintiff provide this Office
         with a detailed description of those individuals by March 16,2018. (ECF Docket Entry No. 14,)

                          (b) Plaintifls March 17th Letter

                          This Office received a letter from Plaintiff dated March 17,2018, in which he
         gave a vague description of the Officers alleged to have been involved in the incident. Plaintiff
         states in the letter that there were "about five or six of them, one big one and the others medium
         height." Plaintiff claims that the "big one" put him in a headlock/chokehold and then "they"
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started beating him up. The description provided by Plaintiff is insufficient to assist this Office
in identifying the John Doe Officers.

               (c) Unresolved Issues Concernine Facts Alleged in the Operative Pleading

                To briefly reiterate the concerns detailed in this Office's February 22nd Letter,
Plaintiff alleges in the Complaint, the attached Notice of Claim, and the Amended Complaint
that he was assaulted by either 'oCourt Officers" or "Corrections Officers," which occurred in
either the "courtroom," "courthouse," or "holding pens." (ECF Docket Entries Nos. 1 and 8.) It
remains unclear as to the exact location of the incident, and whether the New York City Police
Department ("NYPD"), the New York City Department of Correction (ooDOC"), or New York
State Court Officers had custody of Plaintiff at the time of the incident. Additionally, it is
unclear from the pleadings whether the incident occurred on January 14, 2016 or January 18,
2016. Plaintiff also now claims in the March lTthLetter, that the incident occurred on January
27, 2016. However, the DOC oolnmate Lookup Service" reflects that Plaintiff was arrested on
January I 4, 201 6, and released on January 27, 201 6.

               There remain material inconsistencies and deficiencies in Plaintiffs version of
events, therefore this Office requires further clarification regarding the identities of the
defendants Plaintiff seeks to name, as well as the date of incident, before it can respond to both
the Amended Complaint and the Valentin Order. As such, this Office requests that it be
permitted to serve upon Plaintiff identification interrogatories to assist in identifying the
appropriate individuals and gathering information to appropriately defend this matter. We
understand that interrogatories are a discovery tool and this case has not yet progressed into the
discovery phase. However, in light of the lack of detailed description provided by Plaintiff, we
hope responses to interrogatories will provide this Office with more information concerning
these individuals Plaintiff seeks to name as defendants. In addition, although Rule 33 provides
the responding party with 30 days to answer interrogatories, because we are not in discovery, and
because it is in the Court's discretion, we respectfully request that the Court order that the
responses be provided in a shorter period. (See Rule 33(bX2).) Furthermore, in a recent
telephone conversation, Plaintiff represented that he was uncertain whether he could provide any
further description of the individual officers involved in the incident. Notwithstanding, we
believe serving interrogatories may be the best course of action at this iuncture. ln the
meanwhile, this Office continues to investigate the matter.

               (d) Conclusion

               Based on the foregoing, this Office respectfully requests further relief from the
obligation to respond to both the Amended Complaint and the Court's Valentin Order dated
December 27 , 2017, and for permission to serve Plaintiff with identification interrogatories, the
responses to which would be due by a date certain set by the Court.




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                       Thank you for your consideration herein.

                                                                                             v



                                                                               Assistant Corporation Counsel
                                                                               Special Federal Litigation Division

    cc:      Scott Hill (viafi.rst class mail)
             Plaintiffpro se
             298 Nome Avenue
              lst Floor
             Staten Island, New       York 10314




                                    4/12/2018

By April 25, 2018, the Office of the Corporation Counsel shall serve Plaintiff with questions regarding the identification of
the individual defendants that Plaintiff seeks to include. The questions shall be limited to those that would assist the Office of
the Corporation Counsel in identifying the police or court officers that Plaintiff alleges have taken part in the assault and/or
unlawful arrest. Plaintiff shall respond to these questions by May 9, 2018 and send his answers to Assistant Corporation
Counsel Allyson Brown at The City of New York Law Department, 100 Church Street, New York, New York 10007. Both
the questions and the answers shall also be provided to me via the Court's Electronic Case Filing system ("ECF"). The Clerk
of Court is respectfully requested to mail a copy of this Order to the pro se Plaintiff.




                                                                J
